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CGFD28 (10/01/16)




ORDERED in the Southern District of Florida on April 17, 2019




                                                                                                  Raymond B Ray
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 18−23647−RBR
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Superview Screen Enclosures, Inc.
934 N University Drive
Suite 280
Coral Springs, FL 33071

EIN: 81−5185256




                                                              FINAL DECREE



The trustee, Kenneth A Welt, having filed a final report that the estate has been fully administered, is
discharged and the case is closed.
